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AO 245C (Rev. AO 09/11-CAN 04/18) Amended Judgment in Criminal Case


                                  UNITED STATES DISTRICT COURT
                                            Northern District of California
         UNITED STATES OF AMERICA                                     ) SECOND AMENDED JUDGMENT IN A
                                                                        CRIMINAL CASE
                            v.                                        )
                        David Nosal                                   )   USDC Case Number: CR-8-00237-001 EMC
                     David Andrew Nosal                               )   BOP Case Number: DCAN38CR00237-001
                                                                      )   USM Number: 12039-111
                                                                      )   Defendant’s Attorney: Dennis Riordan/Steven Gruel/Marthan
                                                                                                  Boersch (Retained)

Date of Original Judgment: 5/29/2014
(or Date of Last Amended Judgment)
      Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and              Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or
      (2))                                                                    3583(e))
      Reduction of Sentence for Changed Circumstances (Fed. R.                Modification of Imposed Term of Imprisonment for Extraordinary
      Crim. P. 35(b))                                                         and Compelling Reasons (18 U.S.C. § 3582(c)(1))
      Correction of Sentence by Sentencing Court (Fed. R. Crim. P.            Modification of Imposed Term of Imprisonment for Retroactive
      35(a))
      Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.           Direct Motion to District Court Pursuant
      36)
      Other: __________                                                       Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
      pleaded guilty to count(s): __________
      pleaded nolo contendere to count(s): __________ which was accepted by the court.
      was found guilty on count(s): One through Six after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:
Title & Section                Nature of Offense                                                              Offense Ended           Count
18 U.S.C.§ 371                 Conspiracy to Misappropriate, Receive, Possess and Transmit,                   8/2/2005                One
                               Trade Secrets, Gain Unauthorized Access to a Protected Computer,
                               and Traffic in a Password Allowing Unauthorized Access to a
                               Protected Computer
18 U.S.C.§ 371                 Unauthorized Access to a Protected Computer with Intent to                     7/29/2005               Two,
                               Defraud                                                                                                Three,
                                                                                                                                      Four
18 U.S.C.§ 371                 Unauthorized Downloading, Copying, and Duplicating of Trade        4/12/2005                           Five
                               Secrets and Attempt
18 U.S.C.§ 371                 Unauthorized Receipt and Possession of Stolen Trade Secrets and    4/12/2005               Six
                               Attempt
The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

      The defendant has been found not guilty on count(s): __________
      Count(s) __________ is/are dismissed on the motion of the United States.
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        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                         5/4/2018
                                                                         Date of Imposition of Judgment


                                                                         Signature of Judge
                                                                         The Honorable Edward M. Chen
                                                                         United States District Judge
                                                                         Name & Title of Judge

                                                                         5/4/2018
                                                                         Date
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                                                           IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
        12 months and one day on all counts, to run concurrently.

The appearance bond is hereby exonerated, or upon surrender of the defendant as noted below. Any cash bail plus interest shall be
returned to the owner(s) listed on the Affidavit of Owner of Cash Security form on file in the Clerk's Office.

      The Court makes the following recommendations to the Bureau of Prisons:

      The defendant is remanded to the custody of the United States Marshal.

      The defendant shall surrender to the United States Marshal for this district:
             on 4/8/2014 (no later than 2:00 pm).

             as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             at __________ am/pm on ____________ (no later than 2:00 pm).

             as notified by the United States Marshal.

             as notified by the Probation or Pretrial Services Office.




                                                                 RETURN
I have executed this judgment as follows:




         Defendant delivered on ______________________________ to _______________________________________ at
         ________________________________________ , with a certified copy of this judgment.




                                                                                       UNITED STATES MARSHAL

                                                                      By
                                                                                  DEPUTY UNITED STATES MARSHAL
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                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years on all counts, to run concurrently

                                    MANDATORY CONDITIONS OF SUPERVISION

1)    You must not commit another federal, state or local crime.
2)    You must not unlawfully possess a controlled substance.
3)    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                   The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                   substance abuse. (check if applicable)
4)         You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5)         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6)         You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7)         You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court, and bring about improvements in your conduct and condition.

1)         You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
           RELEASE, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2)         After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
           and when you must report to the probation officer, and you must report to the probation officer as instructed.
3)         You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
           from the court or the probation officer.
4)         You must follow the instructions of the probation officer related to the conditions of supervision.
5)         You must answer truthfully the questions asked by your probation officer.
6)         You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
           living arrangements (such as the people you live with, for example), you must notify the probation officer at least 10 days
           before the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must
           notify the probation officer within 72 hours of becoming aware of a change or expected change.
7)         You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
           officer to take any items prohibited by these and the special conditions of your supervision that he or she observes in plain
           view.
8)         You must work at least part-time (defined as 20 hours per week) at a lawful type of employment unless excused from doing
           so by the probation officer for schooling, training, community service or other acceptable activities. If you plan to change
           where you work or anything about your work (such as your position or your job responsibilities), you must notify the
           probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not
           possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a
           change or expected change.
9)         You must not communicate or interact with someone you know is engaged in criminal activity. You must not associate,
           communicate, or interact with any person you know has been convicted of a felony, unless granted permission to do so by the
           probation officer.
10)        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
11)        You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
           without first getting the permission of the court.
12)        You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
           that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
           nunchakus or tasers).


           If the probation officer determines that you pose a risk to a third party, the probation officer may require you to notify the
           person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
           that you have notified the person about the risk. (check if applicable)

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. I understand that the court may (1) revoke supervision, (2) extend the term of supervision,
and/or (3) modify the conditions of supervision upon a finding of a violation of probation or supervised release.



(Signed)
             Defendant                                                          Date


             U.S. Probation Officer/Designated Witness                          Date
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                                        SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall pay any restitution, fine and special assessment that is imposed by this judgment and that remains unpaid at the
commencement of the term of supervised release.

2. The defendant shall provide the probation officer with access to any financial information, including tax returns, and shall authorize
the probation officer to conduct credit checks and obtain copies of income tax returns.

3. The defendant shall submit his or her person, residence, office, vehicle, or any property under his or her control to a search. Such a
search shall be conducted by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of release. Failure to submit to such a search may be
grounds for revocation; the defendant shall warn any residents that the premises may be subject to searches

4. The defendant shall not open any new lines of credit and/or incur new debt without the prior permission of the probation officer.

5. The defendant shall cooperate in the collection of DNA as directed by the probation officer.

6. The defendant shall not own or possess any firearms, ammunition, destructive devices, or other dangerous weapons.

7. The defendant shall complete 400 hours of community service work as directed by the probation officer. The defendant shall work
with a disadvantaged population so that he can use his skills and knowledge in executive search and recruiting.
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                                                  CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments.

                                                 Assessment                   JVTA Assessment*                        Fine                      Restitution
TOTALS                                              $ 600                           N/A                             $ 60,000                   $ 395,991.18



      The determination of restitution is deferred until __________. An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.
       The defendant must make restitution (including community restitution) to the following payees in the amount listed below.


           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
           otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all
           nonfederal victims must be paid before the United States is paid.
Name of Payee                                        Total Loss ∗∗                        Restitution Ordered                      Priority or Percentage
Korn Ferry International                                                                     $ 395,991.18
1900 Avenue of the Stars
Suite 2600
Los Angeles, CA 90067
Attn: Peter Dunn




TOTALS                                                                                         $ 395,991.18


       Restitution amount ordered pursuant to plea agreement $ __________
       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
       The court determined that the defendant does not have the ability to pay interest and it is ordered that:
               the interest requirement is waived for the fine/restitution.
               the interest requirement is waived for the fine/restitution is modified as follows:
               __________




* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
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                                                               SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows ∗:

A              Lump sum payment of ______$456,591.18_______________ due immediately, balance due

                       not later than __________ , or
                       in accordance with        C,                   D, or          E, and/or              F below); or

B              Payment to begin immediately (may be combined with                             C,          D, or        F below); or

C              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
               __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D              Payment in equal __________ (e.g., weekly, monthly, quarterly) installments of ___________ over a period of
               __________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
               term of supervision; or
E              Payment during the term of supervised release will commence within __________ (e.g., 30 or 60 days) after release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F              Special instructions regarding the payment of criminal monetary penalties:
               When incarcerated, payment of criminal monetary penalties are due during imprisonment at the rate of not less
               than $25 per quarter and payment shall be through the Bureau of Prisons Inmate Financial Responsibility
               Program. Criminal monetary payments shall be made to the Clerk of U.S. District Court, 450 Golden Gate Ave.,
               Box 36060, San Francisco, CA 94102.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

    Joint and Several

Case Number                                                       Total Amount              Joint and Several                        Corresponding Payee,
Defendant and Co-Defendant Names                                                                Amount                                  if appropriate
(including defendant number)




       The defendant shall pay the cost of prosecution.

       The defendant shall pay the following court cost(s): __________

       The defendant shall forfeit the defendant’s interest in the following property to the United States:

       The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or
       part of the restitution ordered herein and may order such payment in the future, but such future orders do not affect the
       defendant’s responsibility for the full amount of the restitution ordered.




∗
 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
